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Phoenix Office                IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF ARIZONA
                                       CRIMINAL MINUTES

CR-12-01263-01-PHX-ROS                  DATE: 3/12/2018
Case Number

HON: ROSLYN O. SILVER

USA v.    Ahmed Alahmedalabdaloklah

DEFENDANT: X Present            Not Present   Released X Custody (Restraint 0)        Writ

Deputy Clerk: Christine Boucher                      Court Reporter: Elva Cruz-Lauer

U.S.Atty: Joseph Kaster,                                Defense Atty: Shishene Jing and Molly Karlin
Melissa Karlen, and Bill Solomon
                                          X AFPD apptd retd
Arabic Interpreter: Mohamed Abedalaziz
===========================================================================
PROCEEDINGS: / X / JURY TRIAL / _/ COURT TRIAL / / VOIR DIRE / / JURY SWORN
Trial Day # 21

11:02 a.m. Court reconvenes. Jury is not present. The Court reviews the Final Jury Instructions and Verdict
Form with the parties. The Defendant objects to the Verdict Form as set forth on the record. The objection is
overruled. Argument is presented on pending motions. IT IS ORDERED denying the Defendant’s Motion to
Dismiss (Doc. 869). IT IS FURTHER ORDERED affirming the Court’s previous ruling and denying the
Motion to Dismiss (Doc. 885). IT IS FURTHER ORDERED granting the Motion to Quash Subpoena (Doc.
800). Any stipulations the parties do not agree to shall be filed today by 2:00 p.m. 12:13 p.m. Court is in recess
and will reconvene on 3/13/18 at 8:30 a.m.


                                                                                   Time in court: 1 hr. 11 min.
